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EASTERN DISTRICT OF NEW YORK
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                                                         if FEB 12 2020 ★
DAVID SOLOMON,                                           BROOKLYN OFFICE

            Plaintiff,


V.                                         Docket No.: 18-CV-5528(ERK)(PK)

AMAZON.COM, INC. et al.

            Defendants.                               February 10, 2020

                                                 ■X




        Plaintiff's Prnfferred Affidavit of Judge Azrack's Conduct and

                          It's Possible Effect on Rule 26.


 1. The facts stated below are within the personal knowledge of affiant

 and are true and correct to the best knowledge of affiant.

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2. The purpose of this affidavit is to make a record of the conduct of

 now recused Judge Azrack which conduct may be related to her

 unexplained recusal that occurred shortly after the facts stated herein

and her recusal's effect on Rule 26 in particular.

3. Under Rule 26 Defendants immediately had a duty to disclose to

 plaintiff without awaiting a discovery request the information needed to

 have timely served the two Jane Doe defamers which would have made

the pending motion to dismiss unnecessary. Judge Azrack recused

 herself without explanation and without enforcing Rule 26, any her duties

to enforce Rule 26 were passed to the successor Judge Korman who

 has also not enforced Rule 26. The possible effect of Judge Azrack's

conduct in both Judge Azrack and successor Judge Korman not

 enforcing Rule 26 is the reason for this affidavit.

4. Counsel for the opposing party was present and participated in the

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 hearing before Judge Azrack that is recounted in this affidavit. For that

reason the opposing party witnessed the facts recounted herein and is

not prejudiced by affiant making a record of facts which the opposing

party witnessed but of which successor Judge Korman probably is not

aware and which facts aren't in this record. Plaintiff hired a court reporter

for the hearing that is the subject of this affidavit but the court reporter

didn't appear.

5. Rule 26 is entitled "Duty to Disclose". Rule 26's duty requires "a party,

without awaiting a discovery request" to disclose the information needed

to have timely served the two women defamers. This information which

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defendants had and continue to have a duty to disclose without awaiting

a discovery request is now the subject of a pending motion to dismiss

this case for failure of plaintiff to perhaps have engaged in pre-litigation

discovery and other discovery including to file a motion to compel

 plaintiff's earlier discovery requests in order to timely serve the two Jane

Doe's. Again Rule 26's duty to disclose is a duty to disclose this

information without awaiting a discovery request. So under Rule 26

plaintiff had no duty to file the discovery that plaintiff did file. The posture

of this case with regard to Rule 26 and Judge Azrack's recusal is of great

concern to plaintiff. The two women defamer's false and defamatory

10-15-17 and 10-29-17 emails are the cause of this defamation case.


These two hearsay emails falsely accuse plaintiff of the criminal conduct

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  of following not these two women but of following other countless third

  party unnamed women and then descibing vulgar sex acts to them in the

  Jericho Whole Foods store. For some inexplicable reason the 'followed

  women' reported plaintiff's alleged criminal conduct not to the store but

  only to these two women six days after the 10-15-17 emailer demanded

  plaintiff be banned for asking to sit at her table in the open seating area

  which ban was denied. It seems to plaintiff these lies were concocted to

  unlawfully obtain the ban that was denied six days before these lies were

  concocted. Significantly the momentary encounter between plaintiff and

  the 10-15-17 emailer occurred on October 9, 2017 which is the same


  day the New Yorker Magazine and the New York Times broke the

  Fiarvey Weinstein story. It is plaintiff's good faith belief that the

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 breaking of the Harvey Weinstein story inspired these women to concoct

 these disgusting lies. The false criminal accusations in the two emails

 caused Whole Foods to ban plaintiff from its stores worldwide on 11-9-17

 without notice to plaintiff of plaintiffs conduct alleged in these two false

 emails. Whole Foods didn't bother to view or to preserve their in-store

 video to verify these criminal accusations before Whole Foods

 improperly destroyed it in violation of both their own internal rules, Rule

 37(e) and the duty of reasonable care to business invitees.

6. To the best of affiant's recollection the following transpired at the

single hearing at which Judge Azrack presided before she shortly

thereafter recused herself without explanation.

7. Notably this hearing was held while the jury was deliberating in the

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 Nassau County Executive Edward Mangano graft trial at which news

 media packed the courtroom.

 8. Another notable fact of this hearing that is reflected in the record is

 that Judge Azrack made the unusual order to require plaintiff to

 personally appear at this hearing.

9. Judge Azrack said she didn't have a chance to read the court file and

 asked plaintiffs counsel to summarize the case. Plaintiffs counsel said

 plaintiff was defamed with false statements and Whole Foods banned

 plaintiff based on this defamation.

 10. Judge Azrack said this was one of the most frivolous cases she ever

 heard, didn't yet read the court file but when she did she would impose

sanctions and added something like, "plaintiff should shop at Shop-Rite".

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  11. This affidavit is not intended as a complaint against Judge Azrack.

  It should be stated that to her credit Judge Azrack promptly recused

  herself after these comments although there is no indication in the record

  these comments were in any way related to her recusal.

  12. The purpose of this affidavit is to make a record of the above

  conduct of Judge Azrack for any effect it might have on rulings on issues

  concerning Rule 26 and any other issues that might be relevant to these

  important facts that aren't in this record without this affidavit.

  13. Plaintiff also respectfully requests an order to the Clerk of Court to

  email pleadings to plaintiff at aa2@mindspring.com. Plaintiff has filed all

  the paperwork required for the Clerk to email pleadings to

  aa2@mindspring.com but the Clerk refuses to do so.

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                          Certificate of Service


  I certify a true and correct copy of the foregoing was furnished by U.S. Mail
  on this 11th day of February 2020 to Carman Nicholaou, Esq., 81 Main
  Street, Suite 100, White Plains, NY 10601.


  Sworn and subscribed before me this 10th day of February 2020.

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  -Ewid Solomon 7o Pattis and Smith, LLC
  383 Orange Street, First Floor
  New Flaven, Connecticut 06511
  203-393-3017
  Email: npattis@pattisandsmith.com. aa2@mindspring.com


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